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 5                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 6                                   AT SEATTLE

 7
      KATIE MCLAUGHLIN,
 8                           Plaintiff,
 9         v.
                                                    C17-974 TSZ
10    JOHN DOE and JANE DOE,
      individually and as a marital                 MINUTE ORDER
11    community, and AMERICAN FAMILY
      INSURANCE COMPANY,
12
                             Defendants.
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14        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
15
           (1)   The Parties’ Stipulated Motion to Extend Expert Disclosure Deadlines and
   Issuance of Amended Case Schedule, docket no. 18, is GRANTED in part and DENIED
16
   in part. The Court hereby resets the following deadlines:
17
           JURY TRIAL DATE                                     January 14, 2019
18
           Disclosure of expert testimony                      May 11, 2018
19
           Discovery motions filing deadline                   July 5, 2018
20
           Discovery completion date                           August 13, 2018
21
           Dispositive motions filing deadline                 September 13, 2018
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     MINUTE ORDER - 1
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 1         Motions in limine filing deadline                      December 13, 2018

 2         Agreed pretrial order due                              December 28, 2018

 3
           Trial briefs, proposed voir dire and proposed jury     December 28, 2018
 4         instructions due

 5         Pretrial conference scheduled for                      January 4, 2019
                                                                  at 1:30 p.m.
 6
          (2)     The Clerk is directed to send a copy of this Minute Order to all counsel of
 7 record.

 8        Dated this 16th day of March, 2018.

 9
                                                        William M. McCool
                                                        Clerk
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                                                        s/Karen Dews
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                                                        Deputy Clerk
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     MINUTE ORDER - 2
